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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

 TERESA BOYLE, et al.,                               CASE NO.: 3:19-cv-00426-VC
                 Plaintiffs,                         [PROPOSED] JUDGMENT
         v.                                          Judge: Hon. Vince Chhabria
                                                     Date: N/A
 CALIFORNIA STATE UNIVERSITY                         Time: N/A
 EMPLOYEES UNION, et al.,

                         Defendants.




                               [PROPOSED] JUDGMENT, 3:19-cv-00426-VC
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       IT IS ORDERED AND ADJUDGED that Judgment be, and hereby is, entered in

accordance with the Court’s Orders filed on December 10, 2019 (Docket No. 152), July 21, 2020

(Docket No. 166), and February 10, 2021 (Docket No. 191).

       Dated: February __,
                       18 2021


                                                   ___________________________________
                                                   VINCE CHHABRIA
                                                   United States District Judge




                                               1

                           [PROPOSED] JUDGMENT, 3:19-cv-00426-VC
